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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      )   Chapter 11
                                                            )
GIGAMONSTER NETWORKS, LLC, et al.,1                         )   Case No. 23-10051 (JKS)
                                                            )
                                    Debtors.                )   (Jointly Administered)
                                                            )
                                                            )   Objection Deadline: August 3, 2023 at 4:00 p.m.
                                                            )   Hearing Date: August 17, 2023 at 10:00 a.m.
                                                            )

                                  NOTICE OF FEE APPLICATION

                  PLEASE TAKE NOTICE that on July 13, 2023, Pachulski Stang Ziehl & Jones,

LLP (“PSZ&J”), counsel for the above-captioned debtors and debtors in possession, filed its

First Quarterly Application for Compensation and Reimbursement of Expenses of Pachulski

Stang Ziehl & Jones LLP, as Counsel for the Debtors and Debtors in Possession, for the Period

from January 17, 2023 through March 31, 2023 (the “Application”) seeking fees in the amount

of $2,229,904.75 and reimbursement of actual and necessary expenses in the amount of

$32,981.52 for the period from January 17, 2023 through March 31, 2023.

                  PLEASE TAKE FURTHER NOTICE that any objection or response to the

Application must be made in writing and be filed with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”), 824 N. Market Street, 3rd Floor, Wilmington,

Delaware 19801, on or before August 3, 2023 at 4:00 p.m. prevailing Eastern Time.




1 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: GigaMonster
Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere Communications
LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business address is 350
Franklin Gateway, Suite 300, Marietta, GA 30067.


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                 This application is submitted pursuant to the Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals (the “Order”) [Docket

No. 122] signed on February 9, 2023.

                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the objection or response, if any, by email upon the following: (i) counsel to the

Debtors, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington,

Delaware 19801 (Attn: Laura Davis Jones, Esq. (ljones@pszjlaw.com), David M. Bertenthal,

Esq. (dbertenthal@pszjlaw.com), and Timothy P. Cairns, Esq. (tcairns@pszjlaw.com)); (ii) the

Office of the United States Trustee for the District of Delaware, 844 King Street, Suite 2207,

Lockbox 35, Wilmington, DE 19801 (Attn: Timothy J. Fox (timothy.fox@usdoj.gov); (iii)

counsel to the Official Committee of Unsecured Creditors, Faegre Drinker Biddle & Reath LLP,

222 Delaware Avenue, Suite 1400, Wilmington, Delaware 19801 (Attn: Patrick A. Jackson

(patrick.jackson@faegredrinker.com), Jaclyn C. Marasco (jaclyn.marasco@faegredrinker.com),

and Richard J. Bernard (richard.bernard@faegredrinker.com)); and (iv) any party that has

requested notice pursuant to Bankruptcy Rule 2002.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING WILL BE HELD

ON AUGUST 17, 2023, AT 10:00 A.M. (PREVAILING EASTERN TIME) BEFORE THE

HONORABLE J. KATE STICKLES, UNITED STATES BANKRUPTCY JUDGE FOR THE

DISTRICT OF DELAWARE, 824 MARKET STREET, FIFTH FLOOR, COURTROOM NO. 6,

WILMINGTON, DELAWARE 19801. ONLY OBJECTIONS MADE IN WRITING AND

TIMELY FILED WILL BE CONSIDERED BY THE BANKRUPTCY COURT AT SUCH

HEARING.




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                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.


Dated: July 13, 2023                    PACHULSKI STANG ZIEHL & JONES LLP

                                        /s/ Laura Davis Jones
                                        Laura Davis Jones (DE Bar No. 2436)
                                        David M. Bertenthal (CA Bar No. 167624)
                                        Timothy P. Cairns (DE Bar No. 4228)
                                        919 North Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, Delaware 19899-8705 (Courier 19801)
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                                                tcairns@pszjlaw.com

                                        Counsel for the Debtors and Debtors-in-Possession




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